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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION
JIMMY RAY STRICKLIN                                 §
                                                    §
                  Plaintiff,                        §
                                                    §
                                                    §
         vs.                                        §   CIVIL ACTION NO. 3:19-cv-02489-M
                                                    §
M.D. MCDONALD COMPANY, RYAN                         §
COMMONS, DALLAS COUNTY,                             §
EDWARD WRIGHT, and MARTHA RAND                      §
          Defendants.                               §


            DEFENDANT EDWARD WRIGHT’S NOTICE OF CLARIFICATION

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

         Dallas County Constable Edward Wright (“Constable Wright”), files this Notice of

Clarification regarding the Notice of Removal he filed yesterday in the above-referenced case.

On September 19, 2019, Dallas County, Dallas County Deputy Constable Martha Rand and

Dallas County Constable Edward Wright were all named as defendants in the lawsuit styled

Jimmy Ray Stricklin vs. M.D. McDonald Company, et al, case number DC-19-00815, pending in

the 14th District Court, Dallas County, TX. After filing a Plea to the Jurisdiction and Original

Answer, Constable Wright filed his Notice of Removal in this Court based on Federal Question

Jurisdiction. Earlier that day, Defendants Dallas County and Dallas County Deputy Constable

Martha Rand also filed their Notice of Removal of the same case based on the same grounds.

That case was assigned to this Court. Defendants Dallas County and Dallas County Deputy

Constable Martha Rand’s Notice of Removal did not explicitly state that Constable Wright




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consented to the removal of the above-referenced action. Accordingly, out of an abundance of

caution Constable Wright submitted his separate Notice of Removal to this Court.


         Constable Wright acknowledges Defendants Dallas County’s and Dallas County Deputy

Constable Martha Rand’s Notice of Removal and consents to removal pursuant to 28 U.S.C. §

1446(b)(2)(A).


                                                    Respectfully submitted,

                                                    WHITE & WIGGINS, L.L.P.

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                                                    EDWARD WRIGHT




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                                      CERTIFICATE OF SERVICE

        I certify that on October 22, 2019, I caused the foregoing Answer to be electronically
filed with the Clerk of the Court which will send electronic notice to all counsel of record.


                                                    /s/ Kevin. B. Wiggins
                                                            Kevin B. Wiggins




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